  Case: 1:02-cr-00200 Document #: 1892 Filed: 06/13/19 Page 1 of 1 PageID #:7666



                      IN THE UNITED STATES DISTRICT COURT FOR THE
                            NORTHERN DISTRICT OF ILLINOIS

United States of America,                       )
                                                )
                      Plaintiff,                )
                                                )
              v.                                ) No. 02 CR 200-11
                                                )
Kent Glark,                                     ) Judge Rebecca R. Pallmeyer
                                                )
                                                )
                      Defendant.                )

                                            ORDER

      Defendant's motion for relief under the First Step Act [18791 is granted.




Dated: June 13,2019




                                                      ,.i .)tl
                                    .lti;
